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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )
                                                       )      Crim. No. 19-10141-LTS
(1) SHELLEY M. RICHMOND JOSEPH and                     )
(2) WESLEY MACGREGOR                                   )
                                                       )
                       Defendants.                     )


                   UNITED STATES’ OPPOSITION TO DEFENDANTS’
               JOINT MOTION TO COMPEL PRODUCTION OF DISCOVERY

       The government respectfully requests that the Court deny the Defendants’ Joint Motion

to Compel Production of Discovery (Doc. No. 32) because the government has met its discovery

obligations.

       The government responds as follows to the itemized requests in the defendants’ motion.

       1. The Government Has Already Disclosed All Required Information About the
          Existence of Any Promises, Rewards, or Inducements to Government Witnesses

       The defendants assert that the government has not met its burden to provide “a statement

whether any promise, reward, or inducement” was given to the person identified in the

indictment as A.S. Def. Mot. at 4 (citing L.R. 116.2(b)(1)(C)). That is untrue. In its automatic

discovery letter, the government identified no promise, reward, or inducement to A.S. and stated

that it is aware of “no further information or materials relating to this case of the type described

in Local Rule 116.2(b)(1), other than items provided to you with this letter.” That answers the

question: the government is unaware of any promise, reward, or inducement given to A.S.

       Defendants make the same erroneous assertion with regard to the person identified in the

indictment as the Defense Attorney. Def. Mot. at 5. The government produced copies of both the

proffer letter and the letter of immunity agreement signed by the government and the Defense
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Attorney, and stated in its automatic discovery letter that it is aware of “no further information or

materials relating to this case of the type described in Local Rule 116.2(b)(1), other than items

provided to you with this letter.” That answers the question: the government is unaware of any

other promise, reward, or inducement given to the Defense Attorney.

       2. The Court Should Deny the Defendants’ Request for Early Jencks

       The government has produced all information that is exculpatory within the meaning of

Brady v. Maryland, 373 U.S. 83 (1963), and/or Local Rule 116.2(a), including information that

may also fall under the definition of Jencks Act material. See 18 U.S.C. § 3500.

       The defendants request disclosure of all other Jencks materials “forthwith as a matter of

constitutional due process.” Def. Mot. at 6. They cite no case supporting their position. Indeed

there is none. See United States v. Perry, 37 F. Supp. 3d 546, 560-61 (D. Mass. 2014)

(“numerous courts have concluded that district courts cannot compel the early disclosure of

Jencks material that neither does amount to Brady nor Giglio material”) (citing cases). The only

case mentioned in the defendants’ brief, United States v. Snell, 899 F. Supp. 17 (D. Mass. 1995),

concerned a court order directing the government to produce Brady material that also fell under

the Jencks Act. As stated above, the government has already produced all Brady material.

       3. The Court Should Deny the Defendants’ Request for Two Grand Jury
          Transcripts

       The defendants seek an order compelling the government to produce the grand jury

transcripts of the persons identified in the Indictment as the Defense Attorney and the Assistant

District Attorney, Def. Mot. at 6-7. Grand jury transcripts fall outside Rule 16(a), see Fed. R.

Crim. P. 16(a)(3), and therefore are not part of automatic discovery, see L.R. 116.1(c)(1)(A).



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          Because grand jury proceedings are secret, a defendant seeking a grand jury transcript

which is not otherwise discoverable, as is the case here, must show “‘particularized need.’”

United States v. McMahon, 938 F.2d 1501, 1505 (1st Cir. 1991) (quoting United States v.

Procter & Gamble, 356 U.S. 677, 683 (1958)). Examples of particularized need include

“problems concerning the use of the grand jury transcript at the trial to impeach a witness, to

refresh his recollection, to test his credibility and the like.” Procter & Gamble, 356 U.S. at 683.

To show particularized need, a defendant must demonstrate “‘that the material they seek is

needed to avoid a possible injustice in another judicial proceeding, that the need for disclosure is

greater than the need for continued secrecy, and that their request is structured to cover only

material so needed.’” United States v. Gurry, Crim. No. 16-10343-ADB, 2019 WL 247205, at *2

(D. Mass. Jan. 17, 2019) (quoting Douglas Oil Co. v. Petrol Stops N.W., 441 U.S. 211, 222

(1979)). “Speculative allegations” are insufficient to meet this burden. Id.

          Speculation is all the defendants have offered. They assert that the Defense Attorney

“may or may not” have testified about statements by MacGregor inculpating Joseph, and the

Assistant District Attorney “may or may not” have made statements inculpating MacGregor. The

defendants hypothesize that this possible grand jury testimony may serve as a basis for a motion

to sever. Def. Mot. at 6-7. Accordingly, the defendants have failed to establish particularized

need. 1




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  The basis for defendants’ request – that the identified grand jury testimony might possibly
support a motion to sever – is particularly attenuated. See Def. Mot. at 6-7. “There is a
preference in the federal system for joint trials of defendants who are indicted together. Joint
trials play a vital role in the criminal justice system. They promote efficiency and serve the
interests of justice by avoiding the scandal and inequity of inconsistent verdicts.” Zafiro v.
United States, 506 U.S. 534, 537 (1993) (internal citations and quotation marks omitted).
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        4. The Court Should Deny Defendant MacGregor’s Additional Requests

        Defendant MacGregor seeks ten categories of additional information. Def. Mot. at 7-9. In

each case, either the government has produced everything that is responsive or MacGregor has

failed to explain how the information is discoverable. Therefore, the Court should deny the

requests.

        Request d: MacGregor seeks “any report” by the U.S. Marshals Service documenting an

oral statement that MacGregor made in the presence of a Deputy U.S. Marshal and two Special

Agents from Homeland Security Investigations. The government has already informed

MacGregor that no such report exists. See Doc. No. 30 at 2.

        Request e: MacGregor seeks “any and all training, personnel, policy and procedures

manuals for Massachusetts Court Officers and all Massachusetts Trial Court employees from

1993 to the present.” The government has produced everything in its possession responsive to

this request.

        Request f: MacGregor seeks “the mobile data terminal data, turret tapes, CAD sheets,

booking photos and drug certifications from the 3/30/18 arrest relating to A.S.” The government

has produced everything in its possession responsive to this request.

        Request g: MacGregor seeks all DHS/ICE detainee training

materials/classes/instructions offered by the Massachusetts Trial Court. The government has

produced everything in its possession responsive to this request.




“Severance is especially disfavored in conspiracy cases,” such as this. United States v. Pena-
Lora, 225 F.3d 17, 33 (1st Cir. 2000).
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       Request h: MacGregor seeks all photographs “referenced in” the criminal record of A.S.

on the grounds that they may illuminate whether ICE was seeking the correct person. The

government has already produced the Newton Police Department booking photos of A.S. from

his arrest on March 30, 2018 (MACGREGOR 698); a photograph of the Massachusetts driver’s

license that A.S. presented when he was arrested (MACGREGOR 690); the photograph

associated with the Pennsylvania bench warrant forming the basis of the M.G.L. Fugitive Charge

referenced in paragraph 6 of the Indictment (MACGREGOR 711); the photograph of A.S. that

the ICE Officer had on his cell phone on April 2, 2018 (MACGREGOR 715); and a complete

copy of the alien file of A.S. (MACGREGOR 738-1143), which contains numerous photos of

A.S. MacGregor has failed to explain how any additional photographs – which the government

does not possess in any event – are discoverable.

       Request i: MacGregor seeks “the complete FBI file for A.S.” The government has

already advised MacGregor that it is unaware of any such file. See Doc. No. 30 at 3.

       Request j: MacGregor seeks copies of the logs mentioned in MACGREGOR 588, which

is a page from a Massachusetts Trial Court policy stating: “Court security personnel shall keep a

log of every individual over whom the court accepts custody and who is subject to a civil

immigration detainer or warrant, if known. Court security staff shall likewise keep a log of every

instance in which DHS was notified that a person subject to a detainer was released from court

custody, as well as every time DHS takes an individual into custody in a courthouse.” The

government has already advised MacGregor that it does not possess any Newton District Court

logs that would fall under this description. See Doc. No. 30 at 3.




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       Request k: MacGregor seeks information “learned from any source” about any court

officer’s use of a lockup door to release a defendant, in any Massachusetts Superior or District

Court courthouse, at any time, including contact information for any such court officer(s) and

witness(es). MacGregor claims without explanation that this information is “plainly

exculpatory.” It is not. The requested information has nothing to do with the counts charging

MacGregor with obstruction of justice and conspiring to obstruct justice. The basis of those

counts is the decision of MacGregor (not any other court officer) on April 2, 2018 (not any other

date) to release A.S. (not any other defendant) out the back door of the Newton District

Courthouse (not any other courthouse), contrary to the normal custom and practice at the Newton

District Courthouse (not any other courthouse), in order to help A.S. evade arrest by an ICE

officer in the courthouse. See Indictment ¶¶ 11, 26-27. Nor does the requested information have

anything to do with the perjury charge, in which MacGregor is accused of falsely telling the

grand jury that, before releasing A.S., he was unaware of the existence of ICE agents in the

courthouse or the immigration detainer for A.S. See id. ¶ 36.

       Request l: MacGregor seeks communications between the United States Attorney’s

Office, the Department of Homeland Security, and “any member of the Executive branch” about

this case to the extent any such communications are exculpatory. The government opposes this

request on the grounds that all such communications are protected by the attorney-client

privilege, the deliberative process privilege, and the law enforcement privilege. See, e.g., United

States v. Zingsheim, 384 F.3d 867, 871 (7th Cir. 2004) (“The attorney-client privilege covers

conversations between the prosecutors (as attorneys) and client agencies within the

government.”) (citing Swidler & Berlin v. United States, 524 U.S. 399 (1998)); Dep’t of Interior


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v. Klamath Water Users Protective Ass’n, 532 U.S. 1, 8-9 (2001) (stating that the deliberative

process privilege protects “advisory opinions, recommendations and deliberations comprising

part of a process by which governmental decisions and policies are formulated”) 2; Com. of P.R.

v. United States, 490 F.3d 50, 64 (1st Cir. 2007) (stating that the law enforcement privilege

extends to law enforcement techniques and procedures). To the extent such communications are

in writing, they also are protected by the work product doctrine. See, e.g., Vicor Corp. v. Vigilant

Ins. Co., 674 F.3d 1, 17 (1st Cir. 2012) (“the work product doctrine protects an attorney’s written

materials and mental impressions”) (internal quotation marks omitted); Zingsheim, 384 F.3d at

872 (“[t]he work-product privilege applies to many other discussions between prosecutors and

investigating agents”) (citing FTC v. Grolier Inc., 462 U.S. 19 (1983)). In any event, the

government is unaware of any such communications that could be characterized as exculpatory.

       Request m: MacGregor seeks an order compelling the government to disclose any

statement contradicting his grand jury testimony on the grounds that “it is not clear from the

discovery provided to date where the basis for the perjury charge stems from.” This assertion is

meritless. The 19-page speaking Indictment spells out in detail the government’s allegations that

an ICE officer arrived at the Newton District courthouse on April 2, 2018, at approximately 9:30

a.m. with an immigration detainer for A.S.; the ICE officer notified courthouse personnel of his

identity and purpose; copies of the detainer were provided to various courthouse personnel; the

ICE officer stayed in the public audience area of the courtroom until after the 12:04 p.m.

proceeding; MacGregor was present in the courtroom during portions of the court proceedings




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 “The deliberative process privilege is encompassed within the executive privilege.” ACLU v.
Nat’l Sec. Agency, 925 F.3d 576, 592 n.70 (2d Cir. 2019) (internal quotation marks omitted).
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that day; MacGregor and the Defense Attorney, as part of the conspiracy, agreed that MacGregor

would use his security access card to release A.S. in order for “A.S. to evade arrest by the ICE

Officer” at the courthouse; and yet MacGregor told the grand jury that he did not learn of either

the ICE officer’s presence or the existence of the detainer until after he released A.S. out the

back door of the courthouse at 3:01 p.m. See Indictment, ¶¶ 9-10, 14-15, 18-19, 22-23, 26.

Furthermore, to the extent that MacGregor is seeking exculpatory information, the government

has already produced all such information.

                                         CONCLUSION

       For these reasons, the government respectfully requests that the Court deny the

defendants’ motion to compel.

       The defendants also ask that their deadline for any motion seeking a copy of the legal

instructions given to the grand jury be the same as their deadline for motions to dismiss. The

government does not oppose this request.

                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney


                                         By: s/ Christine Wichers
                                             DUSTIN CHAO
                                             CHRISTINE WICHERS
                                             Assistant U.S. Attorneys




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                                      Certificate of Service

        I certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) on July 17, 2019.

                                              s/ Dustin Chao
                                              DUSTIN CHAO




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